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   UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT
                                        NOTICE OF DOCKETING

                           2011-1009- SOVERAIN SOFTWARE V NEWEGG

Date of docketing: 10/08/2010

Appeal from: United States District Court I Eastern District of Texas
                     case no. 07 -CV -0511

Appcllant(s): Newegg Inc.

Critical dates include:
    • Date of docketing. See Fed. Cir. R. 12.
    • Entry of appearance. (Due within 14 days of the date ofdocketing.) See Fed. Cir. R. 47.3.
    • Certificate of interest. (Due within 14 days of the date of docketing.) See Fed. Cir. R. 47 .4.
    • Docketing Statement. (Due within 14 days of the date of docketing, or within 30 days if the United
        States or its officer or agency is a party in the appeal.) See the en bane order dated September 18,
        2006. [Counsel can download a copy of the order and guidelines at www.cafc.uscourts.gov.]
    • Requests for extensions of time. See Fed. Cir. R. 26 and 27. N.B. Delayed requests are not
        favored by the court.
    • Briefs. See Fed. Cir. R. 31. N.B. You will not receive a separate briefing schedule from the
        Clerk's Office.
    • Settlement discussions. See Fed. Cir. R. 33.
    • Oral argument schedule conflicts. See Practice Note following Fed. Cir. R. 34.

Pro se parties should refer to the Guide for Pro Se Petitioners and Appellants.

Attachments:
    • Official caption to all.
    • Docketing Statement. (Only in cases where all parties are represented by counsel.)
    • Rules of Practice to pro se parties. [Counsel can download the rules from www.cafc.uscourts.gov or
       call 202.275.8000.]
    • Entry of appearance form to all.
    • Certificate of interest form to parties represented by counsel.
    • Informal brief form to pro se parties.
    • Transcript Purchase Order form to appellants.
    • Motion and Affidavit for Leave to Proceed in Forma Pauperis form to appellants owing the
       docketing fee.


Jan I-Iorbaly
Clerk

cc: US District Court, Eastern District of Texas
    Kenneth R. Adamo
    Claudia W. Frost
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                                                                    Printed: 10/08/2010


                            Proof Sheet
I. Docket#:                2011-1009
2. Caption:                SOVERAIN SOFTWARE V NEWEGG
3. Case Type:              Civil Private
4. Lead Case:              2011-1009
5. NOA Reed:               1010812010
6. NOA Date:               0911012010
7. Date Docketed:          10108/2010
8. Origin:                 DCT
9. Nature of Suit:         830
10. U.S. Appeal:           US is not a party
II. Pro Se:                Not prose
12. District Court Type: Infringement
13. Sub-Type:
14. Division:              Eastern District of Texas
15. Basis of Jurisdiction: Federal Question
16. District Court Office: TYLER
17. Lower Court Filed:     1110212007
18. Lower Court Judge: Leonard Davis
19. Case No.:              07-CV-0511
20. Lower Court Docket: 0511
21. Miscellaneous Type:
22. Certified List:        1010812010
23. Screened:
24. A BR Filed:              I I
25. Reinstatement Date:      I I
26. Brief Due:             Blue Brief
27. Due Date:              1210712010
28. ConXap:                Stand alone
29. Under Seal:            .F.
30. Fee Status:            Paid
31. Fee Status Date:       0911012010
32. Fee Amount:            455.00
33. Receipt No.:           2663849
34. Disc. Waiver Fonn:       I I
35. History:
36. A_N_Appear:            Claudia W. Frost
37. E_N_Appear:            Kenneth R. Adamo
38. X_N_Appear:
3tJ. O_N_Appcar:
40. Brief Notice:            I I
41. Docket Number:         2011-1009
42. Party Data:            9
43. Attorney Data:         2
44. Short Caption:         SOVERAIN SOFTWARE V NEWEGG
          Case: 11-1009   Document: 1-1   Page: 3   Filed: 10/08/2010

Plaintiff-Appellee
  SOVERAIN SOFTWARE LLC
  * Kenneth R. Adamo
Defendant-Appellant
 NEWEGG INC.
 * Claudia W. Frost
Secondary Entity
 COW CORPORATION

 REDCATS USA LP

 REDCATS USA, INC.

 THE SPORTSMAN'S GUIDE INC.

 SYSTEMAX INC.

 TIGER DIRECT INC.

 ZAPPOS.COM, INC.
